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                       EXHIBIT B
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 1                          UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                   WESTERN DIVISION
 4 DAWAUN LUCAS, et al., individually           Case No. 2:20-cv-06059-VAP-E
   and on behalf of all others similarly
 5                                              DECLARATION OF IAN KYLE
   situated,                                    WAILES IN SUPPORT OF MOTION TO
 6                                              COMPEL ARBITRATION OF
                            Plaintiff,          PLAINTIFFS’ INDIVIDUAL CLAIMS
 7                                              AND STAY THE CASE
          v.
 8                                              Judge: Honorable Virginia A. Phillips
   SMILEDIRECTCLUB, INC. and
 9 SMILEDIRECTCLUB, LLC,

10
                            Defendants.
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                                                        DECLARATION OF IAN KYLE WAILES
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                                   #:259
